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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

ERIC C. DETERS                                :
                                              :
         Plaintiff,                           :      Case No. 1:19-cv-024
                                              :
v.                                            :      Judge Dlott
                                              :      Magistrate Judge Bowman
MARK SCHWEIKERT                               :
                                              :
         Defendant.                           :

                      DEFENDANT’S MOTION FOR ATTORNEY FEES

         COMES NOW Defendant, Honorable Mark Schweikert (Schweikert), pursuant to Fed. R.

Civ. P.54(d) and 42 U.S.C. § 1988, and hereby moves this Court for an award of attorney fees.

         Schweikert relies on the Declaration of Katherine L. Barbiere, attached as Exhibit A, the

task-based time fee statement of Katherine L. Barbiere, reflecting her exercise of billing

judgment, attached as Exhibit B, and the Memorandum of Law filed contemporaneously with

this Motion.

         BASED UPON THE FOREGOING, Schweikert respectfully requests this Honorable

Court grant his Motion for Attorney Fees in an amount to be determined by this Honorable

Court.

                                      Respectfully submitted,

                                      /s/ Katherine L. Barbiere
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                                      Katherine L. Barbiere (0089501)
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                                    MEMORANDUM

       I.       INTRODUCTION

       Plaintiff filed a Complaint on January 8, 2019, alleging a violation of his First

Amendment rights under the United States Constitution and Ohio Constitution.              (Doc 1).

Defendant Judge Mark Schweikert timely answered the Complaint on February 4, 2019 and

moved for judgment on the pleadings on February 25, 2019. This Court, on May 29, 2019,

entered an Order and Judgement in this case in favor of Defendant Honorable Mark R.

Schweikert (Schweikert). Doc 20. The Order granted Schweikert’s Motion for Judgment on the

Pleadings and dismissed the case. The Order, due to plaintiff’s inclusion of patently frivolous

claims and arguments, in violation of Fed. R. Civ. P. 11, further directs Plaintiff to show cause

why a monetary sanction should not issue based upon the filing of the Complaint.

       II.      ARGUMENT

       Claims for atotnrey fees and related non-taxable expenses shall be made by motion and,

unless otherwise provided by statute or order of the Court, the motion must be filed no later than

fourteen (14) days after entry of Judgment. (F.R.C.P. 54(d)(2)(a)-(b)). The motion for said fees

must specify the judgment and the statute entitling the moving party to an award of attorney fees

and it must also state an amount or provide a fair estimate of the amount sought. (F.R.C.P.

54(d)(2)(B)).

       A. Defendant Schweikert is the Prevailing Party Undre Section 1988 and Thus
          Entitled to Attorney’s Fees

       In this instance, 42 U.S.C. § 1988 allows the award of “a reasonable attorney’s fee” to

“the prevailing party” in various kinds of civil rights cases, including suits brought under § 1983.

Although this analysis typically involves the grant of attorney fees to a prevailing plaintiff, the

United States Supreme Court, in Christianburg Garment Co. v. EEOC, 434 U.S. 412, 98 S.Ct.

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694, 54 L.Ed.2d 648 (1978), held that § 1988 also authorizes a fee award to a prevailing

defendant.   In enacting § 1988, the Supreme Court stated, Congress sought “to protect

defendants from burdensome litigation having no legal or factual basis.” Id. at 420, 98 S.Ct. 694.

Accordingly, § 1988 authorizes a district court to award attorney’s fees to a defendant “upon a

finding that the plaintiff’s action was frivolous, unreasonable, or without foundation.” Id. at 421,

98 S.Ct. 694; see also Kentucky v. Graham, 473 U.S. 159, 165, n. 9, 105 S.Ct. 3099, 87 L.Ed.2d

114 (1985). This is true even if the district court were to determine not all of the plaintiff’s

claims are frivolous. Fox v. Vice, 563 U.S. 826, 131 S.Ct. 2205, 180 L.Ed.2d 45 (2011). In this

context, § 1988 serves to relieve a defendant of expenses attributable to frivolous charges. Id.

“The plaintiff acted wrongly in leveling such allegations, and the court may shift to him the

reasonable costs that those claims imposed on his adversary.” Id., see Christianburg, 434 U.S.,

at 420-421, 98 S.Ct.694.

       If a Complaint includes frivolous and non-frivolous claims, the next step in the analysis is

to determine for what work a defendant may receive fees. The question posed by the Supreme

Court as the standard for making such determination is a “but-for” test – Section 1988 permits

the defendant to receive only the portion of his fees that he would not have paid but for the

frivolous claim. Fox, 563 U.S. at 836. Stated another way, a defendant may recover the

reasonable attorney fees he expended solely because of the frivolous allegations. Id. at 840.

       An award of attorney fees under § 1988 is a matter of discretion with the trial court and is

entitled to substantial deference. Wilson-Simmons v. Lake County Sheriff’s Dept., 207 F.3d 818,

823 (6th Cir. 2000); Cohn v. National Board of Trial Advocacy, 238 F.3d 702, 704 (6th Cir.

2000). In Wilson-Simmons, the Sixth Circuit explained the basis for such substantial deference

to the trial court in imposing an award under § 1988:



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       In light of a district court’s superior understanding of the litigation and the
       desirability of avoiding frequent appellate review of what essentially are factual
       matters, an award of attorneys’ fees under § 1988 is entitled to substantial
       deference. Id. at 823, quoting Hensley v. Eckerhart, 461 U.S. 424, 437, 103 S.Ct.
       1933, 1941, 76 L.Ed.2d 40 (1983) (internal quotation marks omitted).


Although a district court should not engage in post hoc reasoning and hindsight logic in

concluding that a suit is without foundation because the plaintiff ultimately did not prevail, a

plaintiff may be assessed an opponent’s attorney fees where the claim is groundless at the outset

or where it becomes clearly so and the plaintiff continues to litigate. Id.

       In this case, Defendant Schweikert is the prevailing party under 42 U.S.C. § 1983. The

Court has already found the Plaintiff’s conduct in filing the Complaint to be frivolous. Plaintiff’s

Complaint alleged one cause of action under 42 U.S.C. § 1983 and sought declaratory and

injunctive relief, as well as attorney fees and costs. The Court’s Order found the inclusion of

patently frivolous claims and arguments in clear violation of Fed.R.Civ.P. 11. (Doc 20, PAGEID

596). The Magistrate Judge’s Report and Recommendation specifically identified the frivolous

claims to be Deters’ claim for injunctive relief as well as his claim for attorney fees. (Doc 18,

PAGEID 584-585). Plaintiff’s claim for declaratory judgment was dismissed under alternative

theories of under Rooker-Feldman and Younger abstention. Plaintiff’s claim for declaratory

judgment was also dismissed on the merits if any reviewing court disagreed with the application

of the aforementioned doctrines. (Doc 18, PAGEID 595-596).

       Judge Schweikert is a visiting judge in Hamilton County, Ohio, and is currently presiding

over the Durrani litigation which forms the basis of this lawsuit. As an acting judge and

employee of Hamilton County, Judge Schweikert is entitled to representation by the Hamilton

County Prosecutor’s Office.      Due to a conflict of interest arising from Joe Deters’ prior

participation in the Durrani litigation, the office of Schroeder, Maundrell, Barbiere & Powers

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was retained to provide representation to Judge Schweikert in the multitude of ongoing litigation

initiated by Deters Law. However, although conflict counsel was obtained, Hamilton County

continues to pay for the representation of Schweikert. Thus, the filing of this Complaint was

another frivolous and costly burden on the tax payers of Hamilton County who are shouldering

the burden of attorney fees for the defense of the suits against Judge Schweikert.

       Two of the three claims brought by Plaintiff in his Complaint have been found to be

frivolous. The Report and Recommendation opined that the claim for declaratory judgment is

not wholly frivolous because judicial immunity does not bar claims for declaratory relief. (Doc

18, PAGEID 585). However, this claim still lacked any factual or legal foundation and the Court

dismissed it on three alternative bases.     As such, Schweikert seeks full reimbursement to

Hamilton County of the attorney fees reasonably incurred to defend the within action that was

frivolous, unreasonable, and without foundation. Alternatively, if the Court believes the claim

for declaratory relief was a legally supportable claim, Schweikert respectfully requests this Court

reduce the fee amount and award a proportionate amount for the fees incurred in defending the

patently frivolous allegations.

       B. Standard for Calculation of Attorney’s Fees

       Once the Court has determined that a party is entitled to attorney fees, reasonableness of

the award then becomes key. This calculation is deduced through the “lodestar,” a calculation

that multiplies reasonable number of hours by reasonable hourly rates. Hensley v. Eckerhart,

461 U.S. 424, 433 (1983); Imwalle v. Reliance Med. Prods. Inc., 515 F.3d 531, 551 (6th Cir.

2008). The lodestar is presumed to be a reasonable fee. Pennsylvania v. Delaware Valley

Citizens Counsel for Clean Air, 478 U.S. 564 (1986). But, within limits, the trial court can adjust




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the lodestar higher or lower in light of twelve factors considered relevant in this circuit. See

Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir. 1999).1

        The computation of the lodestar, along with due consideration of the other pertinent

factors, demonstrate that if the Court awards the full amount of fees incurred as a result of this

litigation, the fees are reasonable.

                i.      LODESTAR IS REASONABLE BASIS FOR FEE AWARD

        Schweikert seems reasonable hours for the successful work of one attorney – 28.6 hours

for Katherine L. Barbiere –following the exercise of billing judgment. Schweikert seeks an

hourly rate of $175 for Barbiere, for a total fee award of $5,005.00.

                            a. Hours Expended in the Case are Reasonable

        Judging what hours are reasonable, the Court should only exclude hours that are found to

be “excessive, redundant or otherwise unnecessary.” Hensley, 461 U.S. at 434. The standard is

not whether the time expenditure was “strictly necessary” but “whether a reasonable attorney

would have believed the work to be reasonably expended in pursuit of success at the point in

time when the work was performed.” Woolridge v. Marlene Indus. Corp., 898 F.2d 1169, 1173

(6th Cir. 1990) abrogated on other grounds by Buckhannon Bd. & Care Home, Inc. v. W.Va.

Dep’t of Health and Human Res., 532 U.S. 598 (2001). All entries pursued by Schweikert with

this motion are reasonable and compensable.



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  The following factors are weighed: “(1) the time and labor required by a given case; (2) the
novelty and difficulty of the questions presented; (3) the skill needed to perform the legal service
properly; (4) the preclusion of employment by the attorney due to acceptance of case; (5) the
customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the
client or the circumstances; (8) the amount involved and the results obtained; (9) the experience,
reputation, and ability of the attorney; (10) the ‘undesirability’ of the case; (11) the nature and
length of the professional relationship with the client; and (12) awards in similar cases. Reed,
179 F.3d at 471, n. 3 (citing factors previously adopted by the Fifth Circuit in Johnson v.
Georgia Hwy. Exp., Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)).
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       In support of the “time and labor involved,” Defendant Schweikert submits an itemized

statement showing the activity involved and time involved of his attorney, Katherine Barbiere.

The sought after hours are reflected in the contemporaneous billing records maintained by

counsel and substantiated with detailed explanations. (See attached Exhibit B). These hours are

not redundant, excessive, or otherwise inappropriate.        Plaintiff filed a 93-page complaint

consisting of 400 numbered paragraphs and included 244 pages of attached exhibits. The

Complaint is replete with accusations against Judge Schweikert, many of which were irrelevant

to the present claim. Barbiere billed 28.6 hours on the case – the bulk of which was answering

the Complaint. The remainder of the time was spent briefing the Motion for Judgment on the

Pleadings and communicating with the client.

                          b. Hourly Rates of Counsel are Reasonable

       In regard to a customary fee, the Court must determine a reasonable rate. To determine a

reasonable rate, the Court considers the attorneys’ regular rates as well as prevailing rates in the

relevant community. Blum v. Stenson, 465 U.S. 886, 895 (1984). Prevailing market rate is

“defined as the rate that lawyers of comparable skill and experience can reasonably expect to

command within the venue of the court of record.” Gonter v. Hunt Valve Co., 510 F.3d 610, 618

(6th Cir. 2007) (citations omitted). If the attorney has no private practice to compare, the Court

is to look to the fair market rate of the services. Wells v. New Cherokee Corp., 58 F.3d 233, 239

(6th Cir. 1995).

        Defendant submits that the hourly rate charged by counsel for this client is $175 per

hour. Defendant submits that the hourly rate is comparable to the customary rate of counsel and

the nature of the client. The prevailing market value of the legal services is established herein.

Proof is taken from declarations of a lawyer on the subject. Blum, 465 U.S. at 895, n. 11. The



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Declaration of Barbiere substantiates the hourly rate of $175. The Declaration of Barbiere

further substantiates the hourly rates are in line with the legal community in the Southern District

of Ohio. Additionally, Defendant submits that although customary rates for this region regarding

this type of work can vary, this Court has approved a rate of $400 per hour for work in civil

rights litigation. See Hunter v. Hamilton Cty. Bd. of Elections, 2013 WL 5467751 at *17 (S.D.

Ohio, Sept. 30, 2013).

               ii.       Other Factors Justify Lodestar Calculation

       Other factors specified in Reed and Johnson support the lodestar calculation.

                         a. Time and Labor Required

       Schweikert seeks recovery of 28.6 hours for Barbiere, work that was needed to advance

litigation in this matter and achieve the eventual success. Barbiere verifies the need for these

hours as well as their existence. (Ex. A). The time statement reveals the attorney time that was

needed to achieve the desired (and successful) result.

                         b. Customary Fee for Like Work

       Schweikert is seeking $175 per hourly rate for his attorney – an amount that is in line

with the rates of attorneys with comparable skill and experience in civil litigation who regularly

practice in the Southern District of Ohio. (Ex. A).

                         c. Contingent Nature of Attorney Work

       The defense of Judge Schweikert in this litigation, as previously stated, is billed at an

hourly rate of $175 and is paid for by Hamilton County. As such, the tax payers are shouldering

the burden of defense for this patently frivolous suit.

                         d. Amount in Controversy and Results Obtained




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       This case was not about money, but instead about the sanctity of a legal courtroom and a

judge’s ability to preside without interruption. Plaintiff made a frivolous claim for attorney fees,

which are not available against a judicial officer, and the remainder of his claims were for

declaratory and injunctive relief. Plaintiff was denied the requested declaratory and injunctive

relief. Schweikert prevailed on all counts and is therefore entitled to a full award of his fees.

                       e. Experience, Reputation and Ability of Attorneys

       Counsel for Judge Schweikert has performed a large percentage of her work defending

municipalities and public entities. Katherine L. Barbiere has practiced in the area of civil

defense and has consistently dedicated a large part of her practice to defending municipalities

and public entities within the State of Ohio in state and federal court. Counsel has attached an

Affidavit submitting her experience and reputation and further detailing the attorney’s fees

incurred in regard to the defense of the claims made by Eric Deters. (See Exh. A).

                       f. Fee Award in Similar Cases

       Given the importance of constitutional rights, courts routinely award appropriate fee

amounts to litigants who vindicate these rights, even though they only receive a nominal or no

sum in damages. See, e.g., South Carolina for Responsible Gov’t v. Krawcheck, 2012 WL

2830274 (D. S.C. 2012) (awarding $366,542.79 where plaintiff only obtained partial success in

constitutional claim); Christensen v. Park City Mun. Corp., 2011 WL 2690536, at *7 (D. Utah

July 11, 2011) (awarding $116,210.00 in fees to litigant who obtained $1 of nominal damages for

violation of First Amendment rights). Similarly, the caselaw is clear that prevailing defendants

are entitled to fees. Wolfe v. Perry, 412 F.3d 707, 721 (6th Cir. 2005); Wilson-Simmons v. Lake

County Sheriff’s Dept., 307 F.3d 818, 823 (6th Cir. 2000), rehearing en banc denied (upholding

an attorney fee award in excess of $17,000.00 in favor of prevailing defendant under § 1988).



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       III.    CONCLUSION

       For the reasons set forth herein, Plaintiff Judge Mark Schweikert respectfully requests

this Court grant his Motion for Attorney fees.

                                     Respectfully submitted,

                                     /s/ Katherine L. Barbiere
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                                     Katherine L. Barbiere (0089501)
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                                     Attorneys for Defendant, Mark R. Schweikert




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2019 a copy of the foregoing was filed using the Clerk of
Court’s CM/ECF filing system which will send notification of such filing to all counsel of
record. Additionally, the following was served via regular mail:

       Eric C. Deters
       5247 Madison Pike
       Independence, KY 41051


                                                      /s/ Katherine L. Barbiere
                                                      Katherine L. Barbiere (0089501)




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